          Case 23-30013             Doc 4     Filed 01/09/23 Entered 01/09/23 08:28:17                  Desc Order
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                                           UNITED STATES BANKRUPTCY COURT
                                              Western District of North Carolina
                                                     Charlotte Division

                                                         Case No. 23−30013
                                                             Chapter 11




In Re: Debtor(s) (name(s) used in the last 8 years, including married, maiden, trade, and address):
      B GSE Group, LLC
          dba Bullerdick GSE, LLC
       14034 Clarendon Point Court
       Huntersville, NC 28078
       Social Security No.:
       Debtor EIN:
       45−3602396




                            ORDER SETTING STATUS CONFERENCE

In accordance with Subchapter V of Chapter 11 of Title 11 of the United States Code, the court hereby ORDERS as
follows:


      1. The court will convene a status conference on February 21, 2023 at 09:30 AM at Charles R. Jonas Federal
         Building, 401 West Trade Street, Courtroom 2B, Charlotte, NC 28202. Debtor and Debtor's counsel shall
         appear.


      2. At least 14 days prior to the date of the foregoing status conference, Debtor shall file the report required by
         11 U.S.C § 1188(c) and shall serve that report on the Trustee and all parties in interest.


      3. The Clerk is hereby directed to serve this Notice on all interested parties.




SO ORDERED.
Dated: January 9, 2023                                                 BY THE COURT


                                                                       J. Craig Whitley
                                                                       United States Bankruptcy Judge


Electronically filed and signed (1/9/23)
